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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF KENTUCKY
                            AT BOWLING GREEN

                  CRIMINAL ACTION NO. 1:07CR-00044-TBR-(2)

UNITED STATES OF AMERICA                                                      PLAINTIFF

VS.

ISONG RICHARD AKPAN                                                         DEFENDANT


                        REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


       The Defendant, by consent, has appeared before me pursuant to Rule 11, Federal

Rules of Criminal Procedure, and has entered a plea of guilty to Count Five of the

Eleven-Count Indictment. After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea

was knowledgeable and voluntary and that the offense charged is supported by an

independent basis in fact containing each of the essential elements of such offense. I,

therefore, recommend that the plea of GUILTY be accepted and that the Defendant be

adjudged GUILTY and have sentence imposed accordingly.

       ENTERED this February 7, 2008
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                                           NOTICE

       Failure to file written objections to this Report and Recommendation within (10)

days from the date of its service shall bar an aggrieved party from attacking such Report

and Recommendation before the assigned United States District Judge.

28 U.S.C. 636(b)(1)(B).

       Date of Service: February 7, 2008




Copies to:     Counsel of Record
               US Marshal
               US Probation
               Ms. Kelly Harris, Case Manager




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